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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA,

Plaintiff,
                                                   No.
v.
                                                         DEMAND FOR JURY TRIAL
FRED L. WHEELER, II & LANDSCAPE
CENTER OF MAINE, INC.,

Defendants.

                                     COMPLAINT

The United States of America alleges as follows:

         1.   The United States brings this action to enforce the provisions of Title VIII

of the Civil Rights Act of 1968, as amended, 42 U.S.C. §§ 3601, et seq. (the “Fair Housing

Act”).

                                 JURISDICTION AND VENUE

         2.   This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and

1345, and 42 U.S.C. § 3614(a).

         3.   Venue is proper in this district under 28 U.S.C. § 1391(b) because the

actions and omissions giving rise to the United States’ allegations occurred in the

District of Maine and Defendants reside or do business in the District of Maine.

                              FACTUAL ALLEGATIONS

         4.   Defendant Fred L. Wheeler, II is a resident of Manchester, Maine.

         5.   Defendant Landscape Center of Maine, Inc. f/k/a Fred Wheeler

Landscaping & Nursery, Inc. (“Landscape Center of Maine”) is a Maine corporation.

         6.   Defendant Wheeler is the sole officer and shareholder of Landscape Center

of Maine. Defendant Wheeler:
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             a. exercises complete ownership of and control over Landscape Center of

                Maine;

             b. oversees Landscape Center of Maine’s operations;

             c. holds hiring and payment authority over any employees of Landscape

                Center of Maine;

             d. is responsible for the contracts of Landscape Center of Maine; and

             e. dictates where, when, and how the work of Landscape Center of Maine

                proceeds and is performed.

       7.       Defendant Wheeler is further responsible for the control and/or

management of Landscape Center of Maine’s funds and finances.

       8.       From approximately February 18, 2015 through approximately October 21,

2022, Defendant Landscape Center of Maine owned a residential real estate property

located at 131-135 Ash Street in Lewiston, Maine (the “Subject Property”) that contained

approximately six rental units.

       9.       The Subject Property was occupied as a residence by several families from

approximately February 18, 2015 through approximately October 21, 2022. The Subject

Property is a “dwelling” within the meaning of 42 U.S.C. § 3602(b).

       10.      At all times relevant to this action, Defendant Wheeler acted on behalf of

Landscape Center of Maine, and controlled and managed the Subject Property,

including but not limited to, by accepting or rejecting prospective tenants, setting rates

for rent and security deposits, signing rental agreements, collecting rent, accepting

requests for repairs, making repairs, sending eviction notices, and appearing in housing

court in cases related to the Subject Property.


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      11.      Defendant Landscape Center of Maine also owns or formerly owned

residential real estate properties located at 639 Sabattus Road in Sabattus, Maine and

44-46 Gage Street in Augusta, Maine (together with the Subject Property, the

“Properties”). On information and belief, the Sabattus and Augusta properties together

contain multiple rental units.

                          Defendant Wheeler’s Harassment

      12.      On repeated occasions from at least 2016 and continuing through 2022,

Defendant Wheeler subjected multiple female tenants of the Subject Property to

discrimination on the basis of sex, including severe or pervasive and unwelcome sexual

harassment. Such conduct has included, but is not limited to:

            a. Subjecting female tenants to unwelcome sexual contact, including coercing

               them to perform oral sex on him;

            b. Offering to grant tangible benefits—such as forgiving back rent owed by a

               tenant—in exchange for engaging in sexual acts with him;

            c. Conditioning a rental agreement on a romantic relationship with him;

            d. Making unwelcome comments about female tenants’ physical

               appearances, giving them unwanted gifts, making unwelcome sexual

               advances, and sending unwanted sexually suggestive text messages to

               female tenants;

            e. Taking adverse housing actions, such as eviction, or threatening to take

               such actions, against female tenants who objected to or resisted his

               unwelcome sexual harassment; and

            f. Entering the homes of female tenants without their consent.


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      13.    For example, in or around late summer or fall of 2021, Defendant Wheeler

made an explicit offer to a female tenant who lived in the Subject Property that he would

forgive her back rent of $400 if she went down into the basement of the Subject

Property and let Defendant Wheeler give her “a couple of back shots.” The female tenant

understood Defendant Wheeler’s statement to mean that Defendant Wheeler wanted to

have anal sex with her. On another occasion, Defendant Wheeler asked the female

tenant if he could “shotgun” her, which the female tenant understood to mean that

Defendant Wheeler was asking to kiss her. Defendant Wheeler also made unwanted

comments to this female tenant about her physical appearance, gave her unwanted gifts,

and entered her apartment uninvited on numerous occasions. The female tenant did not

acquiesce to Defendant Wheeler’s sexual advances, and took steps to avoid Defendant

Wheeler such as keeping her blinds shut and walking to work (rather than driving) so

she would not have to see Defendant Wheeler. Eventually, Defendant Wheeler initiated

eviction proceedings.

      14.    In another example, on two occasions in approximately 2017 or 2018,

Defendant Wheeler told a female tenant who lived at the Subject Property that he had

housing paperwork for her in the basement of the Subject Property. The female tenant

went into the basement, and once she was in Defendant Wheeler’s office in the

basement, Defendant Wheeler locked the office door and took his clothes off. Defendant

Wheeler then put a pillow on the floor, made the female tenant kneel down, and

cornered the female tenant such that she felt she had to give Defendant Wheeler oral sex

because she could not get out of the office. The female tenant acquiesced to Defendant

Wheeler’s sexual advances. These two instances occurred approximately three to six


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months apart. During her tenancy, through 2020, Defendant Wheeler also visited the

female tenant’s apartment uninvited on numerous occasions, and tried to hug her and

kiss her on her face several times. The female tenant took steps to avoid Defendant

Wheeler such as having someone else go into the basement to do her laundry because

she no longer felt safe in the basement alone.

       15.    In another example, in or around 2019, Defendant Wheeler told a

prospective female tenant that she could only rent an apartment at the Subject Property

if she pretended to be his girlfriend. After she moved in, Defendant Wheeler made

unwanted comments to her about her physical appearance, called her his girlfriend, sent

her “xo” texts, and tried to kiss her on her face. This female tenant took steps to avoid

Defendant Wheeler such as not leaving her apartment if Defendant Wheeler was

outside, and asking both her adult son and adult daughter to move in with her.

       16.    In another example, between 2018 and 2021, Defendant Wheeler made

unwanted comments to a female tenant who lived at the Subject Property about her

physical appearance, gave her unwanted gifts, gave her unwanted hugs, gave her

unwanted kisses on her cheek, and sent her “xo” texts. Defendant Wheeler also visited

the female tenant’s apartment uninvited several times, including on one occasion in

which the female tenant was laying on her bed in her bedroom. The female tenant chose

to hide in her bedroom to avoid contact with Defendant Wheeler, and thought about

jumping out of her bedroom window to avoid seeing and interacting with Defendant

Wheeler. The female tenant took steps to avoid Wheeler such as rigging her unit door so

that she could tell if someone had come into her unit. Eventually, the female tenant

decided to move out because living at the Subject Property had become too stressful.


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       17.   In another example, in June 2022, Defendant Wheeler entered into a lease

agreement with a prospective female tenant for an apartment at the Subject Property.

The day after the lease was signed, Defendant Wheeler called the prospective female

tenant at night and offered that she could get the keys to the apartment at Defendant

Wheeler’s house, and also invited her to spend the night at his house or help her find a

place to stay that night. The prospective female tenant declined to go to Defendant

Wheeler’s house, and was then later informed by a purported agent of Defendant

Wheeler that she could no longer have the apartment at the Subject Property. As a

result, the prospective female tenant was unhoused for approximately one month.

       18.   The experiences of these five women described above in Paragraphs 13

through 17 were not isolated instances; nor were they the only instances of Defendant

Wheeler’s sexual harassment. Rather, these instances were part of Defendant Wheeler’s

longstanding pattern or practice of illegal sexual harassment of multiple female tenants

between at least 2016 and 2022.

       19.   The above-described actions and conduct of Defendant Wheeler caused

female tenants and prospective tenants to suffer fear, anxiety, and emotional distress,

and inhibited their ability to secure and maintain housing for themselves and their

families.

       20.   Defendants owned and/or managed the Subject Property at all times when

the harassment occurred.

       21.   Defendant Wheeler’s discriminatory conduct described above occurred

while he was exercising his authority as an agent for Landscape Center of Maine.

Landscape Center of Maine is vicariously liable for Defendant Wheeler’s conduct.


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                                       CAUSE OF ACTION

      22.      By the actions and statements described above, Defendants have:

            a. Made dwellings unavailable because of sex, in violation of 42 U.S.C.

               § 3604(a);

            b. Discriminated in the terms, conditions, or privileges of the rental or sale of

               dwellings, or in the provision of services or facilities in connection

               therewith, because of sex, in violation of 42 U.S.C. § 3604(b);

            c. Made statements with respect to the sale or rental of dwellings that

               indicate a preference, a limitation, or discrimination based on sex, in

               violation 42 U.S.C. § 3604(c); and

            d. Coerced, intimidated, threatened, or interfered with persons in the

               exercise or enjoyment of, or on account of their having exercised or

               enjoyed, their rights granted or protected by Sections 804 and 805 of the

               Fair Housing Act, in violation of 42 U.S.C. § 3617.

      23.      Defendants’ conduct constitutes:

            a. A pattern or practice of resistance to the full enjoyment of the rights

               granted by the Fair Housing Act, 42 U.S.C. §§ 3601, et seq.; and

            b. A denial to a group of persons of rights granted by the Fair Housing Act,

               42 U.S.C. §§ 3601, et seq., where such denial raises an issue of general

               public importance.

      24.      Tenants and persons associated with them have been injured by

Defendants’ discriminatory conduct. These persons are “aggrieved persons” as defined

in 42 U.S.C. § 3602(i), and have suffered damages as a result of Defendants’ conduct.


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       25.      Defendants’ conduct was intentional, willful, and taken in reckless

disregard of the rights of others.

                               DEMAND FOR JURY TRIAL

       26.      The United States demands a jury trial pursuant to Rule 38(b) of the

Federal Rules of Civil Procedure.

                                   PRAYER FOR RELIEF

WHEREFORE, the United States requests that the Court enter an Order that:

       a. Declares that Defendants’ discriminatory practices violate the Fair Housing

             Act, 42 U.S.C. §§ 3601, et seq.;

       b. Enjoins Defendants, their heirs, agents, employees, and successors, and all

             other persons in active concert or participation with them from:

               i.   Discriminating on the basis of sex, including engaging in sexual

                    harassment, in any aspect of the rental or sale of a dwelling;

              ii.   Interfering with or threatening to take any action against any person

                    engaged in the exercise or enjoyment of rights granted or protected by

                    the Fair Housing Act;

             iii.   Failing or refusing to take such affirmative steps as may be necessary to

                    restore, as nearly as practicable, the victims of Defendants’ past

                    unlawful practices to the position they would have been in but for the

                    discriminatory conduct; and

              iv.   Failing or refusing to take such affirmative steps as may be necessary to

                    prevent the recurrence of any discriminatory conduct in the future and

                    to eliminate, as nearly as practicable, the effects of Defendants’


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                unlawful practices;

      c. Awards monetary damages to each person aggrieved by Defendants’

         discriminatory conduct, pursuant to 42 U.S.C. § 3614(d)(1)(B);

      d. Assesses civil penalties against Defendants to vindicate the public interest,

         pursuant to 42 U.S.C. § 3614(d)(1)(C); and

      e. Awards such additional relief as the interests of justice may require.


Dated: November 16, 2023
                                               Respectfully submitted,

                                               MERRICK GARLAND
                                               Attorney General


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